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                     Exhibit F
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Enabling Vertical Super High Probe
       Counts at Wafer Test


                                              Keith Martin
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                                              FormFactor, Livermore - USA
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                                         Agenda
• Probe count trends
• Understanding actual overtravel
• Impact of system stiffness
• Thermal effects
• Guide plate and MLO challenges
• Equipment readiness
• Conclusions

Author                                                                                         2
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               Why Is Probe Count Increasing?
• New packaging solutions
      – New packaging technologies enable tighter pitches for improved
        PWR/GND and IO coverage
• Power delivery performance:
      – Increasing number of Vdd and Vss bumps to reduce impedance and
        improve the power delivery network (PDN)
• Test costs:
      – Some customers are not increasing per DUT probe counts but
        instead are increasing parallelism to improve throughput

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                       High Probe Count Trend
• FormFactor is shipping 80k probe                                                               Foundry & Logic Trends
  designs today                                                                  140000                                                      50%
                                                                                                                                             45%
• We see probe counts trending to 120k+                                          120000
                                                                                                                                             40%




                                                               Max Probe Count
  probes by 2025 and customers are                                               100000




                                                                                                                                                   AOT/POT Ratio
                                                                                                                                             35%

  already inquiring about 150k – 200k                                            80000                                                       30%
                                                                                                                                             25%

• Based on the current trend, the Actual                                         60000                                                       20%

  OT/Programmed OT ratio will become a                                           40000                                                       15%
                                                                                                                                             10%
  key limiter!                                                                   20000
                                                                                                                                             5%
                                                                                     0                                                       0%
                                                                                          2020     2021    2022    2023    2024       2025
                                                                                                               Year

                                                                                                 Max Probe Count      AOT/POT Ratio




         FormFactor 80k Probe Design

Author                                                                                                                                                        4
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                                What is AOT/POT and Why Should We Care?
                                                                                          • What is AOT/POT?
                                            AOT vs POT                                          – In simple terms, the probes act as a spring and the
                          300                                                                     actual compression of the probes is less than what is
                                                                                                  programmed in the prober recipe due to non-infinite
                                                                                                  system stiffness
Actual Over Travel (µm)




                          250

                          200
                                                                                          • Why do we care?
                                                                                                – Ultimately, we need low and stable Cres for IO
                          150                                                                     performance and power delivery which depends on
                                                                                                  having adequate over travel
                          100                                          28% AOT/POT              – Having a high level of bow across the probe card
                                                                                                  stack-up during use leads to contact and reliability
                           50                                                                     concerns for these large probe arrays
                            0                                                                                                       Contact Resistance vs. Over Travel
                                0   50      100       150      200       250      300
                                                                                                                           1
                                         Programmed Over Travel (µm)




                                                                                                         Avg. Cres (Ω)
                                         Experimental Data     Ideal
                                                                                                                          0.1




                                                                                                                         0.01
                                                                                                                                0        20     40     60       80   100   120
                                                                                                                                                 Over Travel (µm)
                Keith Martin                                                                                                                                                     5
                                             System Stiffness
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                                                     Tester
                                                    Stiffener
                                                                 ktester
                                                 kprobe card                       kcard holder
                                                  N*kprobe
                                                                                              kprober structure
                                                  Wafer Chuck
                                                                     kchuck+stage                                 Reference: T. Berry.
                                                    XY Stage
                                                                                                                  K. Breinlinger, R.
                                                      Prober                                                      Rincon, SW Test,
                                                                                                                  2012

               The system consists of a group of springs in series:
                  1                1                  1             1               1                1           1
                          =                  +               +             +                  +             +
               k system       k probe card       N ∗ k probes k card holder k prober structure k chuck+stage k tester

                                    where N = number of probes

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          How About the Impact of Temperature?
    • We know the probe card deflects based on thermal gradients and the CTE
      mismatch between materials
          – Having higher probe counts will increase the contribution of thermal conduction from the
            wafer to the probe card and needs to be considered when designing fixturing and stiffening
            components
    • FEA models need to be thermo-mechanical to provide a full understanding of
      what is happening to the probe card during test
    • With FFI’s proprietary material selection, CTE deltas can be minimized and
      bow eliminated even for large arrays

                    Example Probe Card Deflections at -40°C and 125°C Wafer Temperature
   -40°C                                                           125°C




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                       MLO Attach Challenges
• Larger probe arrays are requiring MLO sizes >100mm per side
• Major challenge is controlling bow during reflow attach to the PCB
      – Too much bow leads to opens at the probe distal end interface to the MLO pad
• With FFI’s proprietary process, we can reflow up to 120mm MLO’s without issue
                 Probe Card Cross-Section                                    Example MLO Failing Flatness Spec
                                                                                       After Reflow
                                      PCB
                                        Solder Ball
                                        Attach
                                      Space Transformer
                                      (MLO)

                                      Guide Plate

                                      Probes
                                                     Spring
                                                     Head
                                      Guide Plate

                                      Wafer

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                                       Guide Plate Material
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                                                                                                 FEA - Lower GP Deflection Design 1
• Probes exert lateral and frictional forces on the
  guide plates under compression with the lower
  guide plate seeing the majority of the stress
• New ceramic materials with increased bending
  strength are under investigation
• Alternatively, the LGP can be made thicker but
  at the expense of cost and lead time                                                           FEA - Lower GP Deflection Design 2


   Design      //   Probes/DUT    Total # of   Max. LGP           Factor of Safety,
                                  Probes       Deflection (µm)    Max Stress
   Design 1    2       33K            66K             110                 1.5
   Design 2    10       5K            50K             24                   7




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               What’s Needed From the Tester?
                                                                                                      Advantest DUT Scale Duo Tester
• A stiff probe card docking interface
• Advantest’s DUT Scale Duo Tester for example, has
  3x more useable Z-height for the PCB stiffener
      – More clearance opens up the design space for an
        improved stiffener that doesn’t reduce component space
        on the PCB                                                                                    Teradyne UltraFLEXplus Tester


                    Probe Card Stiffness FEA Modeling
                                                    Resultant MLO Deflection




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What’s Needed From the Prober?
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                                                                                                     Accretech AP3000 Prober




 • High force capable chucks
    – Example: 150k probes at 2.5 gf each = 375 kg total force!
 • Minimal deflection of the wafer chuck in the offset loading
   condition
 • Accretech’s AP3000 prober, for example, provides chuck
   options up to 700 kg
                                                                                                        TEL Prexa Prober
                         Offset Loading Condition

                                                  F
                                                            Probe
                                                            Head

                           Wafer Chuck




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               The Low-Force Probe Alternative
  • An alternate solution is to introduce a low force probe to offset the higher probe counts
  • Low force probes with high CCC are challenging to fabricate
     – Next generation materials and fab capabilities, such as used in the FFI MT probe family, are
       enabling higher CCC which can be traded-off for force
  • Achieving stable Cres is also difficult
     – What is the minimum tip pressure needed for Cres? Do higher wafer temperatures help or
       hurt?
                                                                                              Probe Mark Area vs Wafer
                Probe Marks on Solder Bumps
                                                                                            Temperature on Solder Bumps




                                                         Probe Mark Area (µm2)
                                                                                 600

                                                                                 400

                                                                                 200

                                                                                  0
                                                                                       20      40        60        80        100       120
                                                                                                 Wafer Temperature (°C)
                                                                                            1 gf Probe   1.5 gf Probe     2 gf Probe

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                   Summary & Conclusions
• 80k probe cards are used in HVM test today
• We need accurate numbers for the stiffness of the components in the system.
  The days of assuming infinite stiffness are over
   – System stiffness data collection is in progress to calibrate thermo-mechanical
     models
• High probe counts will challenge guide plate strength, but we have material
  options and will continue to search for new materials
• New testers and probers are available, promising improved stiffness
• Memory may no longer be the king of high probe counts; vertical probe cards are
  catching up and will surpass 100k probes

• FFI is ready for >100k vertical probe cards and are working with our
  partners to solve the key system challenges

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                              Special Thanks

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Keith Martin                                                                                    14
